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 8                                    UNITED STATES DISTRICT COURT

 9                               EASTERN DISTRICT OF CALIFORNIA
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11    LUIS E. CASTANEDA,                             Case No. 1:23-cv-00068-KES-CDB

12                       Plaintiff,                  ORDER ON STIPULATION GRANTING
                                                     PLAINTIFF LEAVE TO FILE SECOND
13              v.                                   AMENDED COMPLAINT

14    CITY OF BAKERSFIELD, et al.,                   (Doc. 33)

15                       Defendants.                 7-Day Deadline

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17          On October 7, 2022, Plaintiff Luis E. Castaneda (“Plaintiff”), a minor proceeding by and

18   through his guardian ad litem, Sonia Dimas, initiated this action with the filing of a complaint

19   against Defendants City of Bakersfield, Bakersfield Police Department, Brockett Mueller,

20   Brendan Thebeau, Reagan Selman, and Joseph Armjio (“Defendants”) in the Kern County

21   Superior Court. (Doc. 2).1 On January 13, 2023, Defendants removed the action to this Court.

22   Id. On February 9, 2024, Plaintiff filed a first amended complaint. (Doc. 20).

23          Pending before the Court is the parties’ stipulated request for order granting Plaintiff leave

24   to file second amended complaint removing the Bakersfield Police Department as a named

25   Defendant, dismissing the doe defendants, and dismissing particular causes of action. See (Doc.

26   33).

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28           On May 9, 2024, the parties stipulated to the dismissal of Defendants Reagan Selman
     and Joseph Armijo with prejudice pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii). (Docs. 27, 32).
     Case 1:23-cv-00068-KES-CDB Document 34 Filed 07/09/24 Page 2 of 2


 1        In light of the parties’ representations and good cause appearing, IT IS HEREBY

 2   ORDERED:

 3     1. No later than July 16, 2024, Plaintiff SHALL FILE as a stand-alone docket entry the

 4        second amended complaint proposed in the parties’ stipulation (id.); and

 5     2. Defendants shall respond to the second amended complaint within seven (7) days of its

 6        filing (see Fed. R. Civ. P. 15(a)(3)).

 7   IT IS SO ORDERED.
 8
       Dated:    July 9, 2024                             ___________________                   _
 9                                                 UNITED STATES MAGISTRATE JUDGE

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